Case 2:22-cv-04778-GRB-ST Document 42-1 Filed 02/17/23 Page 1 of 26 PageID #: 971




  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ----------------------------------------------------------------x
  ZACHARY GIAMBALVO, JOHN MOUGIOS,
  SHANE MASHKOW, KEVIN MCLAUGHLIN,
  MICHAEL MCGREGOR, FRANK MELLONI,
  and RENAISSANCE FIREARMS INSTRUCTION,
  INC., and all similarly situated individuals,

                                     Plaintiffs,                      22 Civ. 04778 (GRB)(ST)

          -against-

  SUFFOLK COUNTY, New York,
  Police Commissioner RODNEY HARRISON,
  in his Official Capacity, MICHAEL
  KOMOROWSKI, Individually, ERIC BOWEN,
  Individually, WILLIAM SCRIMA, Individually,
  WILLIAM WALSH, Individually, THOMAS
  CARPENTER, Individually, JOHN DOES
  1-5, Individually and JANE DOES 1-5,
  Individually, Acting Superintendent of the
  New York State Police STEVEN NIGRELLI,
  in his official capacity,
                                      Defendants.
  ----------------------------------------------------------------x




       MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION
              FOR AN INJUNCTION PENDING APPEAL
                   PURSUANT TO FRAP 8(a)(1)




                                   THE BELLANTONI LAW FIRM, PLLC
                                           Attorneys for Plaintiffs
                                        2 Overhill Road, Suite 400
                                        Scarsdale, New York 10583
                                         info@bellantoni-law.com
Case 2:22-cv-04778-GRB-ST Document 42-1 Filed 02/17/23 Page 2 of 26 PageID #: 972




                                                     TABLE OF CONTENTS
                                                                                                                                    Page(s)

  TABLE OF AUTHORITIES ........................................................................................................... i

  PRELIMINARY STATEMENT .................................................................................................... 1

  LEGAL STANDARD ..................................................................................................................... 1

  MATERIAL FACTS ...................................................................................................................... 2

  No Plaintiff Can Possess, Purchase, Carry, or Receive a Handgun Without a NYS License ........ 2

  Every Plaintiff Subjected Themselves to the New York State Handgun Licensing Scheme ............ 3

  SCPD 2-3 Year Process to Obtain a Handgun License –
  Whether For Home or Concealed Carry ........................................................................................ 3

  SCPD ‘Arrest Policy’ for State-Mandated ‘Live Fire’ Training .................................................... 4

  ARGUMENT .................................................................................................................................. 6

  I. PLAINTIFFS HAVE STANDING TO CHALLENGE SCPD’s LENGTHY DELAYS............ 6

        A. Plaintiffs Subjected Themselves to the Licensing Scheme ................................................. 6

        B. Non-Compliance With the CCIA Does Not Eliminate Standing
          to Challenge SCPD’s “Lengthy Delays” ............................................................................. 7

  II. GIAMBALVO HAS STANDING TO CHALLENGE THE SCPD ‘ARREST POLICY’ ....... 8

  III. MELLONI AND RFI HAVE STANDING TO CHALLENGE THE ‘ARREST POLICY’.. 10

  IV. PLAINTIFFS’ SUBSTANTIAL LIKELIHOOD OF SUCCESS ON THE MERITS ........... 11

         A. The ‘Plain Text’ Covers Plaintiffs’ Conduct and Is ‘Presumptively Protected’ ............. 12

         B. Defendants Alone Have the Burden of Proof.................................................................. 12

         C. SCPD Delays Violate the Second and Fourteenth Amendments ..................................... 13

         D. SCPD’s ‘Arrest Policy’ Violates the Second and Fourteenth Amendments ................... 13
Case 2:22-cv-04778-GRB-ST Document 42-1 Filed 02/17/23 Page 3 of 26 PageID #: 973




  V. PLAINTIFFS WILL CONTINUE TO SUFFER IRREPARABLE HARM............................ 13

          A. SCPD Licensing Delays .................................................................................................. 14

          B. SCPD ‘Arrest Policy’ ...................................................................................................... 16


  VI. AN INJUNCTION IS IN THE PUBLIC INTEREST ............................................................ 17

  VII. BALANCING THE EQUITIES IS IMPROPER .................................................................. 18

  CONCLUSION ............................................................................................................................. 19
Case 2:22-cv-04778-GRB-ST Document 42-1 Filed 02/17/23 Page 4 of 26 PageID #: 974




                                                 TABLE OF AUTHORITIES
                                                                                                                                  Page(s)
  Cases

  Agudath Israel of Am. v. Cuomo,
   979 F.3d 177 (2d Cir. 2020) ........................................................................................................ 2

  Andrews v. State,
   50 Tenn. 165 (1871) .................................................................................................................. 11

  Arizona Dream Act Coalition,
    757 F.3d 1053 (9th Cir. 2014) ................................................................................................... 17

  Babbitt v. United Farm Workers Nat’l Union,
    442 U.S. 289 (1979) .................................................................................................................. 16

  Brenntag Int'l Chem., Inc. v. Bank of India,
    175 F.3d 245 (2d Cir. 1999) ...................................................................................................... 13

  Bronx Household of Faith v. Bd. of Educ.,
    331 F.3d 342 (2d Cir. 2003) ...................................................................................................... 14

  Caetano v. Massachusetts,
   577 U.S. 411 (2016) .................................................................................................................. 12

  Cayuga Nation v. Tanner,
   824 F.3d 321 (2d Cir. 2016)....................................................................................................... 16

  Connecticut Citizens Def. League, Inc. v. Lamont,
   465 F. Supp. 3d 56 (D. Conn. 2020).......................................................................................... 15

  Connecticut Dep't of Envtl. Prot. v. O.S.H.A.,
   356 F.3d 226 (2d Cir. 2004) ...................................................................................................... 14

  Connecticut State Police Union v. Rovella,
   494 F. Supp. 3d 210 (D. Conn. 2020).......................................................................................... 2

  Craig v. Boren,
   429 U.S. 190 (1976) .................................................................................................................. 11

  Crawford v. Washington,
   541 U.S. 36, 124 S.Ct. 1354 (2004) .......................................................................................... 12

  D.C. v. Heller,
   554 U.S. 570 (2008) .................................................................................................. 7, 12, 17, 18



                                                                      i
Case 2:22-cv-04778-GRB-ST Document 42-1 Filed 02/17/23 Page 5 of 26 PageID #: 975




                                                 TABLE OF AUTHORITIES
                                                                                                                                  Page(s)
  Cases

  Dark Storm Indus. LLC v. Cuomo,
   471 F. Supp. 3d 482 (N.D.N.Y. 2020)....................................................................................... 10

  Davis v. Federal Election Comm’n,
   554 U.S. 724 (2008) .................................................................................................................... 2

  Doe v. U.S. Immigr. & Customs,
   490 F. Supp. 3d 672 (S.D.N.Y. 2020) ......................................................................................... 9

  Does 1-10 v. Suffolk County,
   2022 WL 2678876 (E.D.N.Y.) .................................................................................................... 9

  Doninger v. Niehoff,
   527 F.3d 41 (2d Cir. 2008) ....................................................................................................... 14

  Drummond v. Twp.,
   361 F. Supp. 3d 466 (W.D. Pa.) ................................................................................................ 10

  Duncan v. Bonta,
   265 F.Supp.3d 1106 (2017) ....................................................................................................... 14

  Elrod v. Burns,
    427 U.S. 347 (1976) .................................................................................................................. 14

  Ezell v. City of Chicago,
    651 F.3d 684 (7th Cir. 2011) ............................................................................................... 11, 14

  Forty-Second St. Co. v. Koch,
   613 F. Supp. 1416 (S.D.N.Y. 1985) .......................................................................................... 10

  Grace v. District of Columbia,
   187 F. Supp. 3d 124 (DDC 2016).............................................................................................. 14

  Hobby Lobby Stores, Inc. v. Sebelius,
   723 F.3d 1114 (10th Cir. 2013) ................................................................................................. 18

  J.S.R. by & through J.S.G. v. Sessions,
    330 F. Supp. 3d 731 (D. Conn. 2018)........................................................................................ 17

  Jolly v. Coughlin,
    76 F.3d 468 (2d Cir. 1996) ........................................................................................................ 14



                                                                      ii
Case 2:22-cv-04778-GRB-ST Document 42-1 Filed 02/17/23 Page 6 of 26 PageID #: 976




                                                 TABLE OF AUTHORITIES
                                                                                                                                  Page(s)
  Cases

  Kelly v. Honeywell Int’l, Inc.,
   933 F.3d 173 (2d Cir. 2019) ........................................................................................................ 2

  Lujan v. Defs. of Wildlife,
    504 U.S. 555 (1992) ............................................................................................................ 13, 14

  McDonald v. Chicago,
   561 U.S. 742 (2010) ...................................................................................................... 12, 14, 18

  Ms. L. v. U.S Immigr. & Customs Enf't (“ICE,
   310 F. Supp. 3d 1133 (S.D. Cal. 2018) ..................................................................................... 17

  Nevada Comm'n on Ethics v. Carrigan,
   564 U.S. 117 (2011) .................................................................................................................. 12

  New York State Rifle & Pistol Ass’n, Inc. v. Bruen,
   142 S. Ct. 2111 (2022)................................................................................................... 11, 12, 13

  O’Malley v. City of Syracuse,
   813 F. Supp. 133 (N.D.N.Y. 1993)............................................................................................ 15

  Parker v. D.C.,
   478 F.3d 370 (D.C. Cir. 2007)................................................................................................... 15

  Paulsen v. County of Nassau,
   925 F.2d 65 (2d Cir.1991) ......................................................................................................... 15

  Pierce v. Soc'y of Sisters,
    268 U.S. 510 (1925) .................................................................................................................. 11

  Statharos v. New York City Taxi & Limousine Comm’n,
    198 F.3d 317 (2d Cir. 1999) ...................................................................................................... 14

  Susan B. Anthony List v. Driehaus,
    573 U.S. 149 (2014) .............................................................................................................. 9, 13

  Teixeira v. Cnty. of Alameda,
    873 F.3d 670 (9th Cir. 2017) ..................................................................................................... 10

  Trump v. Deutsche Bank AG,
    943 F.3d 627 (2d Cir. 2019) ........................................................................................................ 2



                                                                     iii
Case 2:22-cv-04778-GRB-ST Document 42-1 Filed 02/17/23 Page 7 of 26 PageID #: 977




                                                   TABLE OF AUTHORITIES
                                                                                                                                       Page(s)
  Cases

  U.S. S.E.C. v. Citigroup Global Mkts. Inc.,
   673 F. 3d 158 (2012) ................................................................................................................. 17

  United States v. Decastro,
   682 F.3d 160 (2d Cir. 2012) ...................................................................................................... 15

  United States v. Verdugo–Urquidez,
   494 U.S. 259 (1990) .................................................................................................................. 17

  Valenzuela Arias v. Decker,
   2020 WL 1847986 ..................................................................................................................... 14

  Virginia v. Moore,
    553 U.S. 164 (2008) .................................................................................................................. 12

  Wisdom Import Sales Co. v. Labatt Brewing Co.,
   339 F.3d 101 (2d Cir. 2003) ...................................................................................................... 13

  Rules

  FRAP 8(a)(1) .................................................................................................................................. 1




                                                                         iv
Case 2:22-cv-04778-GRB-ST Document 42-1 Filed 02/17/23 Page 8 of 26 PageID #: 978




                                   PRELIMINARY STATEMENT

         Plaintiffs Zachary Giambalvo, John Mougios, Shane Mashkow, Kevin McLaughlin,

  Michael McGregor, Frank Melloni, and Renaissance Firearms Instruction, Inc., move this Court

  as required by Federal Rule of Appellate Procedure 8(a)(1) for an Order granting the requested

  injunctive relief during the pendency of the interlocutory appeal of this Court’s Memorandum and

  Order dated February 14, 2023 denying Plaintiff’s motion for a Preliminary Injunction [ECF No.

  40] (the "Decision") in the Second Circuit Court of Appeals.

         By this motion, Plaintiffs seek to enjoin Suffolk County Police Commissioner Rodney

  Harrison, as statutory licensing officer, and all successors, his officers, agents, servants,

  employees, and attorneys, and all other persons who are in active concert or participation with him

  who receive actual notice thereof (i) from continuing to implement a handgun licensing process

  that is unconstitutionally lengthy or, alternatively, that exceeds 30 days; and (ii) from

  implementing a Suffolk County policy whereby unlicensed individuals who engage in the 18-hour

  training required by Penal Law § 400.00(1)(o), (19) are subject to arrest – a policy in direct conflict

  with Penal Law § 265.20(3-a), during the pendancy of the interlocutory appeal..

                                         LEGAL STANDARD

         Federal Rule of Appellate Practice 8(a)(1) requires that a party seeking an injunction

  pending appeal first move in the district court for an order granting an injunction while an appeal

  is pending.

         On February 16, 2023, Plaintiffs filed a Notice of Appeal of this Court’s Memorandum and

  Order dated February 14, 2023, which denied Plaintiff’s motion for a Preliminary Injunction [ECF

  No. 40]. Because Plaintiffs will be seeking an injunction from the Second Circuit pending the




                                                    1
Case 2:22-cv-04778-GRB-ST Document 42-1 Filed 02/17/23 Page 9 of 26 PageID #: 979




  appeal, this motion is required to satisfy FRAP (8)(a)(1), unless the application to this Court would

  be impracticable or futile. Agudath Israel of Am. v. Cuomo, 979 F.3d 177, 179 (2d Cir. 2020).

             To obtain a preliminary injunction, a movant must show irreparable harm and meet either

  of two standards: (a) a likelihood of success on the merits, or (b) sufficiently serious questions

  going to the merits to make them a fair ground for litigation, and a balance of hardships tipping

  decidedly in the movant’s favor.” Connecticut State Police Union v. Rovella, 494 F. Supp. 3d 210,

  218 (D. Conn. 2020) quoting, Trump v. Deutsche Bank AG, 943 F.3d 627, 635 (2d Cir. 2019),

  rev'd on other grounds, ––– U.S. ––––, 140 S.Ct. 2019 (2020); Kelly v. Honeywell Int’l, Inc., 933

  F.3d 173, 184 (2d Cir. 2019).

             Only one plaintiff need have standing to seek each form of relief requested in the complaint.

  Davis v. Federal Election Comm’n, 554 U.S. 724, 734 (2008).

                                                MATERIAL FACTS

  Every Plaintiff is Firearms Eligible Under Federal and State Law

             Every Plaintiff is eligible to possess, purchase, receive, and transfer firearms 1 for self-

  defense under federal and state law. [See, accompanying Declarations of Zachary Giambalvo

  (dated October 28, 2022 February 10, 2022, and February 16, 2023), John Mougios (dated

  December 2022 and February 2023), Shane Mashkow, Kevin McLaughlin, Michael McGregor,

  and Frank Melloni].

  No Plaintiff Can Possess, Purchase, Carry, or Receive a Handgun Without a NYS License

             The possession, purchase, carriage, and receipt of a handgun for self-defense in New York

  State is a crime. See, Penal Law § 265.00, et seq. A New York State pistol license may be obtained

  to lawfully possess, purchase, carry concealed, and/or receive a handgun for self-defense, which



  1
      The term “firearms” as use herein encompasses handguns, rifles, and shotguns.

                                                            2
Case 2:22-cv-04778-GRB-ST Document 42-1 Filed 02/17/23 Page 10 of 26 PageID #: 980




  requires individuals to apply to the statutory licensing officer in the county in which they reside.

  See, Penal Law § 400.00, et seq.

         As residents of Suffolk County, Plaintiffs are required to apply for and obtain a NYS

  handgun license from Suffolk County Police Commissioner Rodney Harrison by way of the

  Suffolk County Police Department (“SCPD”) Licensing Bureau. [See, accompanying Declarations

  of Zachary Giambalvo, John Mougios, Shane Mashkow, Kevin McLaughlin, and Michael

  McGregor].

  Every Plaintiff Subjected Themselves to the New York State Handgun Licensing Scheme

         Plaintiffs Giambalvo, Mougios, Mashkow, and McLaughlin subjected themselves to the

  New York State handgun licensing scheme and “initiated the licensing procedure to obtain a New

  York State handgun [license].” See, this Court’s Memorandum of Opinion dated February 14,

  2023 at p. 2.

         Plaintiffs filed the SCPD “Applicant Questionnaire” and paid the filing fee to the SCPD

  Licensing Bureau: Giambalvo (February 2020 and June 2022), Mougios (July 2021), Mashkow

  (2020 and February 2022), and McLaughlin (July 2022). [Giambalvo at ¶¶ 6-10; Mashkow at ¶¶

  9-11; McLaughlin at ¶ 4; Mougios at ¶ 8].

         Michael McGregor subjected himself to the SCPD process by filing an amendment of his

  current handgun license to remove his carry restrictions. [McGregor Dec.].

  SCPD 2-3 Year Process to Obtain a Handgun License – Whether For Home or Concealed Carry

         The process for obtaining a handgun license from the SCPD Licensing Bureau - whether

  to purchase, to possession in one’s home for self-defense, or to carry concealed for self-defense -

  takes between 2-3 years.




                                                   3
Case 2:22-cv-04778-GRB-ST Document 42-1 Filed 02/17/23 Page 11 of 26 PageID #: 981




          On July 19, 2022, the Licensing Bureau informed Mr. Giambalvo, “there is an

  approximately a 2 year wait before you will hear from an investigator for the in person interview.”

  [Giambalvo October 28, 2022 Dec. at Ex. 1].

          In August 2022, Mr. Giambalvo was informed by “Suzanne” at the SCPD Licensing

  Bureau, “it’s going to take about a year and a half to 2 years to get called for the interview” – a

  conversation digitally recorded by Mr. Giambalvo. [Giambalvo October 28, 2022 Dec. at Ex. 2].

          Shane Mashkow emailed the SCPD Licensing Bureau for a status update on his pistol

  license application and was informed by email dated July 14, 2022, “We are currently processing

  November/December of 2020, there is an extremely long wait for the interview.” [Mashkow Dec.

  at Ex. 1].

          Michael McGregor – who holds a concealed carry handgun license restricted to

  “Sportsman” activities - filed an amendment application and paid the fee on August 15, 2022 to

  simply amend his existing handgun license to remove the restrictions and allow for full carry

  [McGregor Dec. at ¶¶ 19-20] – or issue a determination denying his amendment application.

          SCPD’s lengthy licensing delays are depriving Plaintiffs of their right to engage in conduct

  presumptively protected by the Second and Fourteenth Amendments; absent an injunction,

  Plaintiffs will continue to suffer irreparable harm.

  SCPD “Arrest Policy” for State-Mandated ‘Live Fire’ Training

          New York State law requires individuals who seek to carry a handgun concealed for self-

  defense to take and pass an 18-hour training course, which includes a 2-hour “live fire”

  component. 2 [Melloni Dec.].


  2
   After the enactment of the New York State Concealed Carry Improvement Act (CCIA), Mr. Melloni created
  an 18-hour CCIA-compliant curriculum to train and certify individuals seeking to apply for, or renew, a New York
  State concealed carry handgun license as required by Penal Law § 400.00(19), including the required 2- hour live-fire
  component. [Melloni Dec. at ¶¶4-6].

                                                           4
Case 2:22-cv-04778-GRB-ST Document 42-1 Filed 02/17/23 Page 12 of 26 PageID #: 982




          Mr. Melloni, a federal firearms licensee, trains individuals in the 18-hour course, including

  the live-fire component, to certify individuals for the issuance of a concealed carry handgun license

  (“CCW”) through his company Renaissance Firearms Instruction, Inc. (“RFI”). Mr. Melloni’s 18-

  hour course is offered to students and potential students, including those individuals who do not

  yet have a handgun license but seek to complete the CCIA training to present proof thereof with

  their application for a concealed carry license. [Id.].

          The CCIA created an exception to criminal penalties for unlicensed individuals who

  possess/handle a handgun while completing the live-fire portion of the 18-hour CCIA training.

  Penal Law § 265.20(3-a). 3 Mr. Melloni registered several unlicensed individuals who sought to

  take the 18-hour course through RFI, including the live-fire portion of the course.

          Mr. Melloni and RFI, however, were banned from teaching the 18-hour course to

  unlicensed students and potential students, who were likewise prevented from taking the training

  course, because of SCPD’s “Arrest Policy.”

          Under SCPD’s Arrest Policy, as explained directly to Mr. Melloni by the head of the

  Licensing Bureau, Lt. Michael Komorowski, SCPD “will arrest anybody who handles a pistol or

  revolver without a New York State pistol permit” because SCPD is “not honoring” the § 265.20(3-

  a) exemption. [Melloni at ¶¶ 10-12].

          Plaintiff Zachary Giambalvo risks imminent arrest and incarceration by SCPD under the

  “Arrest Policy” because he publicly declared that he will take the 18-hour course with Mr. Melloni

  and RFI in December 2022, which contains a live-fire component. [Giambalvo October 2022 Dec.

  at ¶¶ 18-20].




  3
   Possessing a loaded handgun is a Class C Violent felony that carries mandatory minimum state prison sentence of
  3 ½ years. Penal Law § 70.00.

                                                          5
Case 2:22-cv-04778-GRB-ST Document 42-1 Filed 02/17/23 Page 13 of 26 PageID #: 983




                                             ARGUMENT

  I. PLAINTIFFS HAVE STANDING TO CHALLENGE SCPD’s LENGTHY DELAYS

         To establish Article III standing, a plaintiff must show (1) an injury in fact, (2) a sufficient

  causal connection between the injury and the conduct complained of, and (3) a likelihood that the

  injury will be redressed by a favorable decision. The injury-in fact requirement helps to ensure that

  the plaintiff has a personal stake in the outcome of the controversy. Accordingly, an injury

  sufficient to satisfy Article III must be concrete and particularized, and actual or imminent, not

  conjectural or hypothetical.

         A. Plaintiffs Subjected Themselves to the Licensing Scheme

         By filing the Applicant Questionnaire and paying the filing fee, each Plaintiff subjected

  himself to the licensing process, as this Court acknowledged. [Decision at pp. 2-3] (“This

  questionnaire initiated the licensing procedure to obtain a New York State handgun carry

  permit.”) (emphasis added).

         Whether or not Plaintiffs intend to comply with every provision of the CCIA, they are

  entitled to have their applications processed and decided promptly. SCPD has long delayed the

  licensing process, not only for Plaintiffs but for all applicants, as borne out by SCPD’s admissions

  on July 14, 2022 that they were “currently processing [applications from] November/December of

  2020…” [Mashkow Dec. as Ex. 1].

         Not until this action was commenced was SCPD on notice that Plaintiffs were challenging

  their enforcement of the CCIA regulations. SCPD has been subjecting Plaintiffs and numerous

  licensing applicants to substantial licensing delays, barring their right to engage in protected

  conduct well before filing their Complaint in August 2022.




                                                    6
Case 2:22-cv-04778-GRB-ST Document 42-1 Filed 02/17/23 Page 14 of 26 PageID #: 984




         Irrespective of their challenges to certain CCIA provisions, Plaintiffs are entitled to a

  prompt determination of their applications – and have Article III standing to challenge SCPD’s

  lengthy delays.

         Leaving the issue of ‘carrying’ a handgun aside, because of SCPD delays, Plaintiffs are

  absolutely barred from purchasing and/or possessing handguns for self-defense in their homes –

  guaranteed rights. See, D.C. v. Heller, 554 U.S. 570, 592 (2008) (“Putting all of these textual

  elements together, we find that they guarantee the individual right to possess and carry weapons

  in case of confrontation.”).

         A sufficient causal connection exists between Plaintiffs’ injury (the bar to their right to

  possess, purchase, and/or carry a handgun for self-defense) and SCPD’s lengthy licensing delays.

  Plaintiffs’ harms would be redressed by the requested injunctive relief because every Plaintiff is

  eligible and qualified to possess firearms under state and federal law.

         Plaintiffs’ injury-in fact is “concrete and particularized, actual and imminent” because

  SCPD lengthy licensing delays are preventing Plaintiffs from exercising their rights as guaranteed

  by the Second Amendment, and as SCPD admits, will continue into the very distant future.

         B. Non-Compliance With the CCIA Does Not Eliminate Standing
            to Challenge SCPD’s “Lengthy Delays”

         Irrespective of whether Plaintiffs comply with the challenged CCIA regulations, they

  cannot even get to a determination. Plaintiffs are not required to comply with the challenged CCIA

  regulations to have standing to challenge delays in the process, which by the way only affects

  concealed carrying of, but not possessing and purchasing, a handgun for self-defense.

         The plaintiffs in Bruen subjected themselves to the licensing process, refused to comply

  with the “proper cause” requirement, were denied a handgun license, and went on to challenge the

  “proper cause” requirement as unconstitutional – and won.

                                                   7
Case 2:22-cv-04778-GRB-ST Document 42-1 Filed 02/17/23 Page 15 of 26 PageID #: 985




           Plaintiffs also subjected themselves to the licensing process, refused to comply with the

  certain CCIA regulations and, if denied, will continue to challenge the CCIA requirements as

  unconstitutional.

           Had Plaintiffs, for example, taken the very 18-hour training course they are challenging,

  how would they thereafter contest a regulation requiring that they take the 18-hour CCIA firearms

  training course? It is rightly imagined that a court would declare such a challenge entirely moot as

  the act has already been performed.

           For one to assume that SCPD would deny Plaintiffs’ applications because they refused to

  comply with the CCIA leads to the conclusion that Plaintiffs should not have even bothered to

  apply for a license – that applying would be futile. [Decision at p. 10] (opining that by refusing to

  comply with the challenged CCIA provisions, Plaintiffs “cannot qualify for a permit” “allowing

  SCPD to deny their applications”).

           But “likelihood of success” at the Licensing Bureau is not the same as “likelihood of

  success on the merits of Plaintiffs’ Second and Fourteenth Amendment challenges, which is

  substantial as discussed below. [See, Decision at p. 10].

  II. GIAMBALVO HAS STANDING TO CHALLENGE THE SCPD ‘ARREST POLICY’

           Zachary Giambalvo has expressed is intention to comply with the CCIA 18-hour training

  requirement, including the 2-hour live-fire requirement, in December 2022 with Frank Melloni

  and RFI. As an unlicensed individual, Giambalvo faces a credible threat of arrest and incarceration

  by SCPD as borne out by the Declaration of Frank Melloni dated December 7, 2022, which was

  unchallenged by Suffolk County in Plaintiffs’ initial motion for a preliminary injunction. 4 [See,

  Melloni Dec.].


  4
    In opposition to Plaintiffs’ motion for an injunction, Lt. Michael Komorowski submitted a sworn declaration averring
  to the hours for the Licensing Bureau but remained silent in the face of the sworn Declaration from Frank Melloni

                                                            8
Case 2:22-cv-04778-GRB-ST Document 42-1 Filed 02/17/23 Page 16 of 26 PageID #: 986




          A credible threat of arrest is sufficient to confer Article III standing; actual prosecution is

  not a necessary factor. 5 “[I]t is not necessary that petitioner first expose himself to actual arrest or

  prosecution to be entitled to challenge a statute that he claims deters the exercise of his

  constitutional rights.” Susan B. Anthony List v. Driehaus, 573 U.S. 149, 159, 134 S. Ct. 2334,

  2342, 189 L. Ed. 2d 246 (2014) (emphasis added); Doe v. U.S. Immigr. & Customs Enf't, 490 F.

  Supp. 3d 672, 683 (S.D.N.Y. 2020) (alleging a credible threat of arrest satisfied the “low

  threshold” for Article III standing).

          Giambalvo faces an even more credible threat than the plaintiffs in Does 1-10 v. Suffolk

  County, 2022 WL 2678876. Unlike SCPD’s written threats to individuals who failed to surrender

  their lawfully owned “other firearms” who “may be subject to arrest and criminal charges”, Lt.

  Komorowski’s uncontroverted statement threatens that SCPD “will arrest” anybody who handles

  a pistol or revolver without a New York State pistol permit during a live-fire training course.

          And SCPD did act on their threat to arrest individuals for possessing “other firearms”. The

  owners of Jerry’s Firearms, Jerry Rallo and Chris Rallo were arrested by SCPD and prosecuted by

  the Suffolk County District Attorney’s Office for possessing “other firearms” – more than a year

  before New York State made the possession of “other firearms” illegal in July 2022.

          Mr. Giambalvo is not required to be arrested to have standing to challenge SCPD’s “arrest

  policy.” There is no evidence in the record to show whether Mr. Giambalvo engaged in the live-

  fire training or not and the time limitation for arresting Mr. Giambalvo for violating the SCPD

  policy (a time period known only to SCPD) has presumably not expired. Mr. Giambalvo remains

  under the threat of arrest and incarceration by SCPD under the “Arrest Policy,” which will cause



  averring, “Lt. Komorowski informed me that SCPD will ‘arrest anybody who handles a pistol or revolver
  without a New York State pistol permit.’” [Melloni Dec. at ¶ 11].
  5
    Decision at p. 13.

                                                     9
Case 2:22-cv-04778-GRB-ST Document 42-1 Filed 02/17/23 Page 17 of 26 PageID #: 987




  him irreparable harm, and neither SCPD nor Lt. Komorowski have denied that they will enforce

  the “Arrest Policy.”

  III. MELLONI AND RFI HAVE STANDING TO CHALLENGE THE ‘ARREST POLICY’

         Melloni and RFI have standing to challenge SCPD’s ‘Arrest Policy’, which prohibits

  Melloni and RFI from training members of the general public who seek to comply with the CCIA

  18-hour training requirements but have not yet been issued a handgun license by SCPD.

         Conversely, students and potential students of Melloni and RFI are unable to engage in

  handgun training due to the threat of arrest and incarceration by SCPD, which includes one or

  more of the plaintiffs in this action and other ordinary citizens who are not part of this action but

  also seek to engage in the 18-hour training course.

         Melloni and RFI have the right to teach and train others on their use of firearms and their

  students and potential students, on whose behalf Melloni and RFI advocate for, also have a Second

  Amendment right to engage in firearm training. See, e.g., Dark Storm Indus. LLC v. Cuomo, 471

  F. Supp. 3d 482, 493 (N.D.N.Y. 2020) (finding Dark Storm Industries LLC, “as the ... operator of

  a gun store, ... has derivative standing to assert the subsidiary right to acquire arms on behalf of

  [its actual and] potential customers.”) quoting, Teixeira v. Cnty. of Alameda, 873 F.3d 670, 677–

  78 (9th Cir. 2017) (“As with purchasing ammunition and maintaining proficiency in firearms use,

  the core Second Amendment right to keep and bear arms for self-defense “wouldn't mean much”

  without the ability to acquire arms); citing, Drummond v. Twp., 361 F. Supp. 3d 466, 480 (W.D.

  Pa.) (“Plaintiff[s] ..., as would-be operators of a commercial shooting range, have standing to sue

  on behalf of their potential customers.”), aff'd in part, vacated in part on other grounds, remanded

  sub nom. Drummond v. Twp. of Robinson, 784 F. App’x 82 (3d Cir. 2019); cf. Forty-Second St.

  Co. v. Koch, 613 F. Supp. 1416, 1422 (S.D.N.Y. 1985) (rejecting defendants’ argument that movie



                                                   10
Case 2:22-cv-04778-GRB-ST Document 42-1 Filed 02/17/23 Page 18 of 26 PageID #: 988




  theater companies did not have standing to assert the rights of their customers); see also, Ezell v.

  City of Chicago, 651 F.3d 684 (7th Cir. 2011) (Action Target, as a supplier of firing-range

  facilities, is harmed by the firing-range ban and is also permitted to act as an advocate of the rights

  of third parties who seek access to its services); Craig v. Boren, 429 U.S. 190, 195 (1976) (allowing

  beer vendor to challenge alcohol regulation based on its patrons' equal-protection rights); Pierce

  v. Soc'y of Sisters, 268 U.S. 510, 536 (1925) (allowing private schools to assert parents' rights to

  direct the education of their children and citing “other cases where injunctions have issued to

  protect business enterprises against interference with the freedom of patrons or customers”);

  Andrews v. State, 50 Tenn. 165, 178 (1871) (“[t]he right to keep arms, necessarily involves the

  right to purchase them, to keep them in a state of efficiency for use, and to purchase and provide

  ammunition suitable for such arms, and to keep them in repair.”).

  IV. PLAINTIFFS’ SUBSTANTIAL LIKELIHOOD OF SUCCESS ON THE MERITS

         In New York State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111 (2022), the Supreme

  Court reiterated the text, history, and tradition standard of reviewing Second Amendment

  challenges, consistent with Heller, McDonald, and Caetano. Flatly rejecting the ‘interest

  balancing’ ‘intermediate scrutiny’ test created by the Second Circuit (and others), Bruen laid out

  a clear path to determine the constitutionality of government regulations affecting the Second

  Amendment: “We reiterate that the standard for applying the Second Amendment is as follows:


           When the Second Amendment’s plain text covers an individual’s conduct, the
           Constitution presumptively protects that conduct.

           The government must then justify its regulation by demonstrating that it is
           consistent with the Nation's historical tradition of firearm regulation. Only then
           may a court conclude that the individual's conduct falls outside the Second
           Amendment's ‘unqualified command.’”




                                                    11
Case 2:22-cv-04778-GRB-ST Document 42-1 Filed 02/17/23 Page 19 of 26 PageID #: 989




          Bruen, at 2126. (“In sum, the Courts of Appeals’ second step is inconsistent with Heller’s

  historical approach and its rejection of means-end scrutiny.”) (emphasis added) (citation omitted).

          Where later history contradicts what the text says, the text controls. Bruen, at 2137.

          A.       The ‘Plain Text’ Covers Plaintiffs’ Conduct and Is ‘Presumptively Protected’

          Because the plain text of the Second Amendment covers Plaintiffs’ conduct – the

  possession and carriage of a handgun for self-defense 6,7 their conduct is ‘presumptively protected’

  by the Second and Fourteenth Amendments 8.

          B.       Defendants Alone Have the Burden of Proof

          SCPD “must then justify its regulation by demonstrating that it is consistent with the

  Nation’s historical tradition of firearm regulation.” Bruen, at 2126. “Only then may a court

  conclude that [Plaintiffs’] conduct falls outside the Second Amendment’s ‘unqualified

  command.’” Bruen, at 2126-2127. Defendants cannot meet their burden.

          The scope of the protection provided by the Second Amendment applicable to the Federal

  Government and States is pegged to the public understanding of the right when the Bill of Rights

  was adopted in 1791. Bruen, at 2137–38 citing, Crawford v. Washington, 541 U.S. 36, 42–50, 124

  S.Ct. 1354 (2004) (Sixth Amendment); Virginia v. Moore, 553 U.S. 164, 168–169 (2008) (Fourth

  Amendment); Nevada Comm'n on Ethics v. Carrigan, 564 U.S. 117, 122–125 (2011) (First

  Amendment).




  6
    District of Columbia v. Heller, 554 U.S. 570, 592 (2008) (“Putting all of these textual elements together, we find
  that they guarantee the individual right to possess and carry weapons in case of confrontation.”).
  7
    Caetano v. Massachusetts, 577 U.S. 411 (2016) (per curiam) (stun guns).
  8
    McDonald v. Chicago, 561 U.S. 742 (2010) (Second Amendment applies to the states through the Fourteenth
  Amendment); accord, Bruen, at 2137 (“individual rights enumerated in the Bill of Rights and made applicable against
  the States through the Fourteenth Amendment have the same scope as against the Federal Government.”).

                                                          12
Case 2:22-cv-04778-GRB-ST Document 42-1 Filed 02/17/23 Page 20 of 26 PageID #: 990




          C.       SCPD Delays Violate the Second and Fourteenth Amendments

          The Supreme Court already proclaimed that “lengthy wait times in processing license

  applications or exorbitant fees deny ordinary citizens their right to public carry.” Bruen, at 2138 9

  (emphasis added). Suffolk County’s 2-3 year wait time is patently unconstitutional.

          D.       SCPD’s ‘Arrest Policy’ Violates the Second and Fourteenth Amendments

          Subjecting individuals to arrest for engaging in firearms training, particularly where

  required and authorized by state statute, violates the Second and Fourteenth Amendments. There

  is no historical tradition of any such regulation in the Founding Era.

  V. PLAINTIFFS WILL CONTINUE TO SUFFER IRREPARABLE HARM

          Irreparable harm is certain and imminent harm for which a monetary award does not

  adequately compensate [Wisdom Import Sales Co. v. Labatt Brewing Co., 339 F.3d 101, 113 (2d

  Cir. 2003)] and exists where, but for the grant of equitable relief, there is a substantial chance that

  upon final resolution of the action the parties cannot be returned to the positions they previously

  occupied [Brenntag Int'l Chem., Inc. v. Bank of India, 175 F.3d 245, 249 (2d Cir. 1999)].

          To establish injury in fact, a plaintiff must show that he suffered an invasion of a legally

  protected interest that is concrete and particularized and actual or imminent, not conjectural or

  hypothetical. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992) (internal quotation marks

  omitted). An allegation of future injury may suffice if the threatened injury is “certainly

  impending,” or there is a “substantial risk” that the harm will occur.” Susan B. Anthony List v.

  Driehaus, 573 U.S. 149, 158 (2014) (citation omitted). This injury must be fairly traceable to the




  9
    The continuation of ‘may-issue’ handgun licensing schemes, like New York’s was conditional: “so long as those
  States employ objective licensing requirements like those used by the 43 shall-issue States.” Bruen, 2162. New York
  remains a subjective and discretionary, ‘may-issue’ State.

                                                          13
Case 2:22-cv-04778-GRB-ST Document 42-1 Filed 02/17/23 Page 21 of 26 PageID #: 991




  challenged action of the defendant and likely to be redressed by a favorable decision. Lujan, at

  560–61.

         In the Second Circuit, it is well-settled that an alleged constitutional violation constitutes

  irreparable harm. Valenzuela Arias v. Decker, No. 20 CIV. 2802 (AT), 2020 WL 1847986, at *5

  (S.D.N.Y. Apr. 10, 2020) citing, Connecticut Dep't of Envtl. Prot. v. O.S.H.A., 356 F.3d 226, 231

  (2d Cir. 2004); Statharos v. New York City Taxi & Limousine Comm’n, 198 F.3d 317, 322 (2d Cir.

  1999) (no separate showing of irreparable harm is necessary); Jolly v. Coughlin, 76 F.3d 468, 482

  (2d Cir. 1996) (“[I]t is the alleged violation of a constitutional right that triggers a finding

  of irreparable harm.”).

         The Second Amendment is not “a second-class right, subject to an entirely different body

  of rules than the other Bill of Rights guarantees.” McDonald, 561 U.S. at 780.

         “The right to keep and bear arms protects tangible and intangible interests which cannot be

  compensated by damages…The right to bear arms enables one to possess not only the means to

  defend oneself but also the self-confidence — and psychic comfort — that comes with knowing

  one could protect oneself if necessary…Loss of that peace of mind, the physical magazines, and

  the enjoyment of Second Amendment rights constitutes irreparable injury.” Duncan v. Bonta, 265

  F.Supp.3d 1106, 1135 citing, Grace v. District of Columbia, 187 F. Supp. 3d 124, 150 (DDC

  2016); see also Ezell v City of Chicago, 651 F3d 684, 699 (7th Cir 2011) (“Infringements of this

  right cannot be compensated by damages.”).

         A. SCPD Licensing Delays

         Like the First Amendment, the loss of Second Amendment ‘freedoms, for even minimal

  periods of time, constitutes irreparable injury.’ C.f., Doninger v. Niehoff, 527 F.3d 41, 47 (2d Cir.

  2008) citing, Elrod v. Burns, 427 U.S. 347, 373 (1976); Bronx Household of Faith v. Bd. of Educ.,



                                                   14
Case 2:22-cv-04778-GRB-ST Document 42-1 Filed 02/17/23 Page 22 of 26 PageID #: 992




  331 F.3d 342, 349 (2d Cir. 2003); Paulsen v. County of Nassau, 925 F.2d 65, 68 (2d Cir.1991)

  (temporary abridgment of the First Amendment right to free expression constitutes an irreparable

  injury); see also, O’Malley v. City of Syracuse, 813 F. Supp. 133, 140 (N.D.N.Y. 1993).

         Denial of a government-issued permit is a quintessential injury-in-fact for purposes of

  standing. Connecticut Citizens Def. League, Inc. v. Lamont, 465 F. Supp. 3d 56, 66 (D. Conn.

  2020), vacated on other grounds, 6 F.4th 439 (2d Cir. 2021) citing, Parker v. D.C., 478 F.3d 370,

  376 (D.C. Cir. 2007) (denial of registration certificate to own handgun), aff'd sub nom. D.C. v.

  Heller, 554 U.S. 570 (2008).

         Plaintiffs Giambalvo, Mougios, Mashkow, and McLaughlin are absolutely barred from

  exercising the right to possess, purchase, and/or carry handguns for self-defense, and Michael

  McGregor is prohibited from carrying a handgun concealed in public for self-defense, because of

  SCPD’s lengthy licensing delays – an existing and irreparable injury. See, Connecticut Citizens

  Def. League, Inc. v. Lamont, 465 F. Supp. 3d 56, 66 (D. Conn. 2020), vacated on other grounds, 6

  F.4th 439 (2d Cir. 2021) (finding no merit to the State’s argument that a ‘temporary delay’

  occasioned by the suspension of fingerprinting does not result in injury. “If the Governor and the

  Commissioner were to issue a gag order barring plaintiffs from exercising their First Amendment

  free speech rights for the balance of the COVID-19 crisis, plaintiffs would surely suffer injury

  despite the ‘temporary’ nature of the crisis. The same holds true for plaintiffs’ exercise of their

  Second Amendment rights.”) citing, United States v. Decastro, 682 F.3d 160, 167 (2d Cir. 2012)

  (consulting principles from other areas of constitutional law, including the First Amendment”);

  Parker v. D.C., 478 F.3d 370, 376 (D.C. Cir. 2007) (denial of registration certificate to own

  handgun), aff'd sub nom. D.C. v. Heller, 554 U.S. 570 (2008).




                                                  15
Case 2:22-cv-04778-GRB-ST Document 42-1 Filed 02/17/23 Page 23 of 26 PageID #: 993




         B. SCPD ‘Arrest Policy’

         Under Babbitt, being threatened with prosecution is not a requirement; it is sufficient for

  a plaintiff to allege that enforcement is likely. Babbitt v. United Farm Workers Nat’l Union, 442

  U.S. 289, 298 (1979)

          (“But “[o]ne does not have to await the consummation of threatened injury to obtain

  preventive relief. If the injury is certainly impending, that is enough.”).

          The Second Circuit has held that when a plaintiff alleges “an intention to engage in a

  course of conduct arguably affected with a constitutional interest, but proscribed by a statute, and

  there exists a credible threat of prosecution thereunder, he should not be required to await and

  undergo a criminal prosecution as the sole means of seeking relief.” Cayuga Nation v. Tanner,

  824 F.3d 321, 331 (2d Cir. 2016). The standard established in Babbitt “sets a low threshold and

  is quite forgiving to plaintiffs seeking such preenforcement review,” as courts are generally

  “willing to presume that the government will enforce the law as long as the relevant statute is

  recent and not moribund.” Cayuga Nation, at 331.

         It is SCPD policy to arrest any unlicensed person who engages in the live-fire component

  of the 18-hour training course. This policy was communicated to Mr. Melloni from the head of the

  SCPD Licensing Bureau, Lt. Michael Komorowski, who informed that SCPD will “arrest

  anybody who handles a pistol or revolver without a New York State pistol permit” and is “not

  honoring” the exemption outlined in Penal Law § 265.20(3-a). [Melloni Dec. at ¶¶ 11-12].

         Zachary Giambalvo has concrete plans to attend an 18-hour training course offered by RFI

  and taught by Frank Melloni in December 2022, including the 2-hour live-fire component.

  [Giambalvo Dec. at ¶ 18]. Mr. Melloni has concrete plans to instruct Mr. Giambalvo on the live-

  fire portion of the training in his December 2022 course. [Melloni Dec. at ¶ 18]. Both Mr.

  Giambalvo and Mr. Melloni face a credible threat of arrest by Suffolk County police officers.
                                                    16
Case 2:22-cv-04778-GRB-ST Document 42-1 Filed 02/17/23 Page 24 of 26 PageID #: 994




  [Giambalvo at ¶ 19; Melloni at ¶¶ 17-20]. Being arrested, fingerprinted, and incarcerated would

  be an irreparable injury and no plaintiff is required to undergo an arrest before being provided with

  relief. See, e.g., Cayuga Nation, at 331.

  VI. AN INJUNCTION IS IN THE PUBLIC INTEREST

          A preliminary injunction is “in the public interest” if the preliminary injunction would not

  “cause harm to the public interest.” U.S. S.E.C. v. Citigroup Global Mkts. Inc., 673 F. 3d 158, 163

  n.1 (2d Cir. 2012). “As with irreparable injury, when a plaintiff establishes ‘a likelihood

  that Defendants’ policy violates the U.S. Constitution, Plaintiffs have also established that both

  the public interest and the balance of the equities favor a preliminary injunction.’” J.S.R. by &

  through J.S.G. v. Sessions, 330 F. Supp. 3d 731, 743 (D. Conn. 2018) citing, Ms. L. v. U.S Immigr.

  & Customs Enf't (“ICE”), 310 F. Supp. 3d 1133, 1146 (S.D. Cal. 2018), modified, 330 F.R.D. 284

  (S.D. Cal. 2019), and enforcement granted in part, denied in part sub nom. Ms. L. v. U.S. Immigr.

  & Customs Enf't, 415 F. Supp. 3d 980 (S.D. Cal. 2020) quoting, Arizona Dream Act Coalition,

  757 F.3d 1053, 1069 (9th Cir. 2014) (balance of equities favors preventing the violation of a party’s

  constitutional rights).

          The public interest would not be disserved by the granting of Plaintiffs’ requested relief.

          The term “the People” in the Constitution “unambiguously refers to all members of the

  political community, not an unspecified subset….


           ‘The people’ seems to have been a term of art employed in select parts of the
           Constitution .... [Its uses] sugges[t] that ‘the people’ protected by the Fourth
           Amendment, and by the First and Second Amendments, and to whom rights and
           powers are reserved in the Ninth and Tenth Amendments, refers to a class of
           persons who are part of a national community or who have otherwise developed
           sufficient connection with this country to be considered part of that community.”
  D.C. v. Heller, 554 U.S. 570, 580 (2008) citing United States v. Verdugo–Urquidez, 494 U.S. 259,

  265 (1990).

                                                   17
Case 2:22-cv-04778-GRB-ST Document 42-1 Filed 02/17/23 Page 25 of 26 PageID #: 995




          Plaintiffs are “the People” for whom the Bill of Rights, including the Second Amendment,

  was codified. The public interest favors the adherence to and exercise of all constitutionally

  protected rights, including the Second and Fourteenth Amendments, by law-abiding responsible

  citizens, and “it is always in the public interest to prevent the violation of a person’s constitutional

  rights.” Duncan, at 1136 (granting preliminary injunction of California’s magazine ban statute)

  citing, Hobby Lobby Stores, Inc. v. Sebelius, 723 F.3d 1114, 1145 (10th Cir. 2013), aff'd sub nom.,

  Burwell v. Hobby Lobby Stores, Inc., ––– U.S. ––––, 134 S.Ct. 2751 (2014).

          SCPD’s policies are actively impeding the public’s exercise of conduct presumptively

  protected by the plain text of the Second Amendment.

  VII. BALANCING THE EQUITIES IS IMPROPER

          While balancing the equities is a prong of the injunctive relief consideration, it is no longer

  viable in the context of a Second Amendment challenge. A balancing test requires the Court to

  place Plaintiffs’ constitutional rights on one side of the equation and the hardship faced by the

  government if the injunctive relief is granted. But ‘interest balancing” in the Second Amendment

  context has been thrice flatly rejected by the Supreme Court in Heller, McDonald and Bruen.


           “The Second Amendment does not permit - let alone require - judges to assess
           the costs and benefits of firearms restrictions.” Bruen, at 2129 (quoting,
           McDonald, at 790-791); Heller, at 634 (“[t]he very enumeration of the right
           takes out of the hands of government—even the Third Branch of Government—
           the power to decide on a case-by-case basis whether the right is really worth
           insisting upon.”).
          Whatever purported ‘hardship’ the government would face cannot – and does not -

  outweigh Plaintiffs’ presumptively protected rights under the Second and Fourteenth

  Amendments.




                                                    18
Case 2:22-cv-04778-GRB-ST Document 42-1 Filed 02/17/23 Page 26 of 26 PageID #: 996




                                          CONCLUSION

        Plaintiffs’ application for an injunction pending appeal should be granted in its entirety.

  Dated: February 16, 2023
         Scarsdale, New York

                                                      THE BELLANTONI LAW FIRM, PLLC
                                                      Attorneys for Plaintiffs

                                              By:     __________________________________
                                                      Amy L. Bellantoni (AB3061)
                                                      2 Overhill Road, Suite 400
                                                      Scarsdale, New York 10583
                                                      abell@bellantoni-law.com




                                                 19
